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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
      v.                                     :   Case No. 1: 21-575 (JDB)
                                             :
DAVID JOHN LESPERANCE, CASEY                 :
CUSICK, and JAMES VARNELL                    :
CUSICK, JR.,                                 :
                                             :
       Defendants.                           :

                                        ORDER

      Upon consideration of the defendants’ motion to dismiss (ECF No. 47), it is hereby

ORDERED that the motion is DENIED.

      Dated this ______ day of March 2023.




                                                         JOHN D. BATES
                                                 UNITED STATES DISTRICT JUDGE
                                                 UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF COLUMBIA
